Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 1 of 13

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION
IN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION SECTION “N-S"
JUDGE ENGELHARDT
MAG. JUDGE CHASEZ
THIS DOCUMENT IS RELATED TO:

Age, et al v. Gulf Stream Coach, Inc., et al, No, 09-2892

AEKEAHTHAREEHKEEEARAHAKEAREEHARKEAREKERNEARAWARAKEHEAEKARKANAL

JURY VERDICT FORM
A. GULF STREAM COACH, INC, (“GULF STREAM")

1. Do you find that the Gulf Stream trailer occupied by Alana Alexander
(“Alexander”) and Christopher Cooper (“Cooper”) was unreasonably dangerous in
its construction or composition?

Yes No 4

[PROCEED TO QUESTION NO, 2)

2. Do you find that the Gulf Stream trailer occupied by Alexander and Cooper was

unreasonably dangerous in its design?

Yes No VY

[PROCEED TO QUESTION NO, 3}
0 ee meen oem .

Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 2 of 13

6.

Do you find that the Gulf Stream trailer occupied by Alexander and Cooper was

unreasonably dangerous because an adequate warming about the trailer was not
provided?

Yes No MW

{iF YOU ANSWERED ANY OF QUESTION NUMBERS 1}, 2, or 3 “YES”,
PROCEED TO QUESTION NO. 4, IF YOU ANSWERED EACH AND ALL
QUESTION NUMBERS 1, 2, AND 3 “NO”, PROCEED TO PART B,
QUESTION 7]

Do you find that any unreasonably dangerous condition of the trailer existed at the
time it left Gulf Stream’s control?

Yes No

{IF YOU ANSWERED QUESTION NUMBER 4 “YES”, PROCEED TO
QUESTION NO. 5. IF YOU ANSWERED QUESTION NUMBER 4 “NO”,
PROCEED TO PART B, QUESTION 7]

Do you find that Christopher Cooper sustained injury to which Gulf Stream
substantially contributed, as a result of any unreasonably dangerous condition of
the trailer?

Yes No

[PROCEED TO QUESTION NO. 6]

Do you find that Alana Alexander sustained injury to which Gulf Stream
substantially contributed, as a result of any unreasonably dangerous condition of
the trailer?

Yes No

eee CS

[PROCEED TO QUESTION NO. 7]
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 3 of 13

B. I R

7. Do you find that Fluor was negligent in regard to its actions or inactions

concerning the hauling and/or installing of the trailer occupied by Alexander and
Cooper?

Yes Noy

[IF YOU ANSWERED QUESTION NO. 7 “YES”, PROCEED TO QUESTION
NO. 8. IF YOU ANSWERED QUESTION NO. 7 “NO”, PROCEED TO PART
C, QUESTION 10, WITHOUT REGARD TO THE PARENTHETICAL
INSTRUCTIONS BETWEEN C AND QUESTION NO, 10)

8. Doyou find that Christopher Cooper sustained injury to which Fluor substantially
contributed, as a result of the negligence of Fluor in its actions or inactions
conceming the hauling and/or installing of the trailer occupied by Alexander and
Cooper? -

Yes No

(PROCEED TO QUESTION NO. 9]
9. Do you find that Alang Alexander sustained injury to which Fluor substantially
contributed, as a result of the negligence of Fluor in its actions or inactions

conceming the hauling and/or installing of the trailer occupied by Alexander and

[PROCEED TO PART C, QUESTION NO. 10]
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 4 of 13

Cc. ON OF FAUL

10.

[IF YOU ANSWERED EACH AND ALL OF QUESTION NOS. 5, 6, 8, and 9,
“NO”, DO NOT ANSWER ANY MORE QUESTIONS. PLEASE SIGN AND
DATE THIS JURY VERDICT FORM, AND ADVISE THE COURT
SECURITY OFFICER THAT YOU HAVE REACHED A VERDICT.
OTHERWISE, PROCEED TO QUESTION NO. 10 IF YOU ANSWERED
QUESTIONS NOS. 5 OR 8 “YES,” IF YOU ANSWERED BOTH QUESTION
NOS. 5 AND 8 “NO,” PROCEED TO QUESTION 11.]

For Christopher Cooper, please allocate on a percentage basis the degree of fault,
ifany, which you attribute to each of the following parties and non-parties, Please
be careful to enter “O" or leave blank where you have found no fault on the part of
a party in your previous answers. All numerical percentages you enter in this
question should add up to a total of 100%:

Defendant Gulf Stream Coach, Inc. ©) %

(if you answered “no” to Question

Nos. 1, 2, and 3; or if you answered

“no” to Question No. 4, you must put

a zero in this blank)

Defendant Fluor Enterprises, Inc. © %

(if you answered “no” to Question Nos.
7 or 8, you must put a zero in this blank)

Plaintiff Alana Alexander OC»

United States (FEMA) OO »

Person or Entity Other Than Defendants,

FEMA, or Alexander (maintenance contractor ©

and/or installer sub-contractors only) %
100% (TOTAL)

[PROCEED TO QUESTION NO. 11 IF YOU ANSWERED QUESTIONS NOS.
6 OR 9 “YES.” IF YOU ANSWERED BOTH QUESTION NOS.6 AND 9 “NO,”
PROCEED TO QUESTION 12 ONLY IF YOU ANSWERED QUESTION NO.

4.
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 5 of 13

i.

10, OTHER WISE, PLEASE SIGN AND DATE THIS JURY VERDICT FORM,
AND ADVISE THE COURT SECURITY OFFICER THAT YOU HAVE
REACHED A VERDICT,]

For Alana Alexander, please allocate on a percentage basis the degree of fauit, if
any, which you attribute to cach of the following parties and non-parties. Please
be careful to enter “0” or leave blank where you have found no fault on the part of
a party in your previous answers, All numerical percentages you enter in this
question should add up to a total of 100%:

Defendant Gulf Stream Coach, Inc. O %
(Uf you answered “no" to Question

Nos. 1, 2, and 3; or if-you answered

“no” to Question No. 4, you must put

a zero in this blank)

Defendant-Fluor Enterprises, Inc. ¢ > %
(if you answered “no” to Question Nos.
7 or 9, you must put a zero in this blank)

Plaintiff Alana Alexander © x
United States (FEMA) _O %
Person or Entity Other Than Defendants,

FEMA, or Alexander (maintenance contractor
and/or installer sub-contractors only) O_»

100% (TOTAL)
[PROCEED TO QUESTION NO. 12]

o5-
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 6 of 13

12, What amount of damages, if any, do you find should be awarded with respect to

each of the following claims:

Past, present and future physical pain and suffering

of Christopher Cooper: $ QO)
Past, present and future mental anguish and emotional

distress of Christopher Cooper: $ O
Past, present and future medical expenses (including @
medical monitoring) for Christopher Cooper: $

Loss or impairment of life’s pleasures

for Christopher Cooper: $ ©
Past, present and future mental anguish and emotional

distress of Alana Alexander: s ©
Loss of consortium for Alana Alexander $ M

Dat ales oe Z f
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 7 of 13

“UNITED STATES.DISTRICT COURT ~~ “oom
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION
JN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION SECTION “N-5"
JUDGE ENGELHARDT
MAG. JUDGE CHASEZ
THIS DOCUMENT IS RELATED TO:
Wright v, Forest River/Shaw
Member Case No. 09-2977

KRHRAKAAEHHEENAHEKEAEKKAEKERHEAHAENHREKEAKKHAKAHEEERAHEARAL
JURY VERDICT FORM
A. T_ RIV C. (FO VER”

1, Do you find that the Forest River trailer occupied by Lyndon Wright (“Wright”)
was unreasonably dangerous in its construction or composition?
Yes_s—(iéWNNo aX
(PROCEED TO QUESTION NO. 2]

2. Do you find that the Forest River trailer occupied by Wright was unreasonably
dangerous in its design?

Yes No x

[PROCEED TO QUESTION NO. 3)
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 8 of 13

3. Do you find that the Forest River trailer occupied by Wright was unreasonably
dangerous because an adequate warning about the trailer was not provided?

Yes_ No XK

{IF YOU ANSWERED ANY OF QUESTION NUMBERS 1, 2, or 3 “YES”,
PROCEED TO QUESTION NO. 4, IF YOU ANSWERED EACH AND ALL OF
QUESTION NUMBERS 1], 2, AND 3 “NO”, PROCEED TO PART B,
QUESTION 6]

4. Do you find that any unreasonably dangerous condition of the trailer existed at the
time it left Forest River's control?
Yes No

{IF YOU ANSWERED QUESTION NUMBER 4 “YES”, PROCEED TO
QUESTION NO. 5. IF YOU ANSWERED QUESTION NUMBER 4 “NO”,
PROCEED TO PART B, QUESTION 6)

5.  Doyou find that Wright sustained injury to which Forest River substantially
contributed, as a result of any unreasonably dangerous condition of the trailer?

Yes No

(PROCEED TO PART B, QUESTION NO. 6]

B. E TAL, INC. (“SHA

6.  Doyou find that Shaw was negligent in regard to its actions or inactions

concerning the hauling and/or installing of the trailer occupied by Wright?

Yes___ Nok

[iF YOU ANSWERED QUESTION NO. 6 “YES”, PROCEED TO QUESTIQN
NO. 7. IF YOU ANSWERED “NO” TO QUESTION NO. 6, BUT “YES” TO
ANY OF QUESTION NOS. |, 2, OR 3, AND “YES” TO QUESTION NO. 5,
PROCEED DIRECTLY TO QUESTION NO. 8, WITHOUT REGARD ‘TO TH!

-2-
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 9 of 13

Cc. ALL

PARENTHETICAL INSTRUCTIONS BETWEEN PART C AND QUESTION
NO. 8. IF YOU ANSWERED “NO” TO EACH AND ALL OF QUESTION
NOS. 1-3 AND 6, PLEASE SIGN AND DATE THIS JURY VERDICT FORM,
AND ADVISE THE COURT SECURITY OFFICER THAT YOU HAVE
REACHED A VERDICT. }

Do you find that Wright sustained injury to which Shaw substantially contributed,
as a result of the negligence of Shaw in its actions or inaotions conceming the
hauling and/or installing of the trailer occupied by Wright?

Yes No

{PROCEED TO PART C BELOW]

ON OF FAULT/DAMAGES

[IF YOU ANSWERED BOTH QUESTION NOS. 5 and 7, “NO”, DO NOT
ANSWER ANY MORE QUESTIONS. PLEASE SIGN AND DATE THIS
JURY VERDICT FORM, AND ADVISE THE COURT SECURITY OFFICER
THAT YOU HAVE REACHED A VERDICT. OTHERWISE, PROCEED TO
QUESTION NO. 8]

Please allocate on a percentage basis the degree of fault, if any, which you
attribute to each of the following parties and non-parties, Please be careful to
enter “0” or leave blank where you have found no fault on the part of a party in
your previous answers, All numerical percentages you enter in this question
should add up to a total of 100%:

Defendant Forest River, Inc. % .

(If you answered “no” to all of Question

Nos. 1, 2, and 3; or if you answered

“no” to Question Nos, 4 or 5, you must put
a zero in this blank)

Defendant Shaw Environmental, Inc. %
(f you answered “no” to Question Nos.

-3-
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 10 of 13

6 or 7, you must put a zero in this blank)

Plaintiff Lyndon Wright %
United States FEMA) %
Person or Entity Other Than Defendants,

FEMA, or Wright (maintenance and

deactivation contractors or MDCs) %

100% (TOTAL)
[PROCEED TO QUESTION NO. 9]

9. What amount of damages, if any, do you find should be awarded with respect to

each of the following claims:

Past, present and future physical pain and suffering

of Lyndon Wright: $
Past, present and future mental anguish and emotional
distress of Lyndon Wright: $
Future medical expenses for Lyndon Wright: $

Loss or impairment of life's pleasures
for Lyndon Wright: $

vue_ 3/29/2610 CS
JURY FO 0: .

Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 11 of 13

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

SECTION “N-5"
JUDGE ENGELHARDT
MAG. JUDGE CHASEZ
THIS DOCUMENT IS RELATED TO:
Castanel v. Recreation By Design, LLC
Member Case No. 69-3251

RERERERRRE EERE EEE REE AREARANEAE ADEE KEENER KEAES

JURY VERDICT FORM
A. LIABILITY
1.  Doyov find that the RBD trailer occupied by Castanel was unreasonably
dangerous in its design?
Yes —s«N x

[PROCEED TO QUESTION NO. 2]

2.  Doyou find thet the RBD trailer occupied by Castane! was-unreasonably

+l.
Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 12 of 13

dangerous because an adequate waming about the trailer was not provided?
Yes No

[iF YOU ANSWERED ESTHER OF QUESTION NUMBERS 1] OR 2 “YES”,
PROCEED TO QUESTION NO. 3. IF YOU ANSWERED BOTH OF
QUESTION NUMBERS 1 AND 2 “NO”, PLEASE SIGN AND DATE THIS
JURY VERDICT FORM, AND ADVISE THE COURT SECURITY OFFICER
THAT YOU HAVE REACHED A VERDICT.)

Do you find that any unreasonably dangerous condition of the trailer existed at the -
time it Jeft RBD‘s control?
Yes No

(IF YOU ANSWERED QUESTION NUMBER 3 “YES”, PROCEED TO PART
B, QUESTION NO. 4. IF YOU ANSWERED QUESTION NUMBER 3 “NO",
PLEASE SIGN AND DATE THIS JURY VERDICT FORM, AND ADVISE
THE COURT SECURITY OFFICER THAT YOU HAVE REACHED A
VERDICT.}

B. DAMAGES

4.

Do you find that Castanel sustained injury to which RBD substantially
contributed, as a result of any unreesonably dangerous condition of the trailer?

Yes No

te

{IF YOU ANSWERED QUESTION NUMBER 4 “YES”, PROCEED TO PART
C, QUESTION NO. 5. IF YOU ANSWERED QUESTION NUMBER 4 “NO",
PLEASE SIGN AND DATE THIS JURY VERDICT FORM, AND ADVISE
THE COURT SECURITY OFFICER THAT YOU HAVE REACHED A
VERDICT.)

Case 2:07-md-01873-KDE-MBN Document 25226-13 Filed 04/13/12 Page 13 of 13

oe wo. -: .

C. ALLOCATION OF FAULTDAMAGES
5, Please allocate on a percentage basis the degree of fault, if any, which you

attribute to each of the following parties and non-parties. All numerical

percentages you enter in this question should add up to a total of 100%:

Defendant Recreation By Design, LLC %
Plaintiff Earline Castanel %
Shaw Environmental, Inc. %
United States (FEMA) %
100% (TOTAL)

{PROCEED TO QUESTION NO. 6]
6. What amount of damages, if any, do you find should be awarded with respect to

each of the following claims:

Past, present and future physical pain and suffering

of Earline Castanel: $
Past, present and future mental anguish and emotional
distress of Earline Castanel: $
Past medical expenses for Earline Castanel $
Loss or impairment of life’s pleasures

for Barline Castanel: $

[PLEASE SIGN AND DATE THIS JURY VERDICT FORM, AND ADVISE
THE COURT SECURITY OFFICER THAT YOU HAVE REACHED A
VERDICT}

ae_S5\2.4| 0 Mowe Cocodand

JURY FOREPERSON

